Case 5:18-cv-01526-SMH-KLH Document 119-6 Filed 01/28/20 Page 1 of 3 PageID #: 3644




                                      EXHIBIT 5
                      Opposition to W.A. Lucky III's Rule 56 Motion
Case 5:18-cv-01526-SMH-KLH Document 119-6 Filed 01/28/20 Page 2 of 3 PageID #: 3645




                                      EXHIBIT 5
                      Opposition to W.A. Lucky III's Rule 56 Motion
Case 5:18-cv-01526-SMH-KLH Document 119-6 Filed 01/28/20 Page 3 of 3 PageID #: 3646




                                                                                                                 ...,
                                                                                                 Account Agreement
    ttMPMtrtlihd#iaMWt¼i
    ! BANK Of' JACKSON HOLE                                                                                 �� --
                                                                                                               1
    isn w BROADWAY                                                                                             \   ,THE WCKY FAMlLY UC
    !JACKSON, Y..'Y 8-3002:-7000                                                                                   i 151 LVCKY LANE




   L-------------��
    ; By: WAYNE RUBY/sgrles                                                                                        jsoSSIER, LA 71:12

                                                                                                                   I
                                                                                                                   !

    lMPORTAl\lT ACCOUNT Cl'ENING             IN.FORM.ATICN: Feda(a! iaw requkas
    '"' to obtain s�tficier.t infermat cn to var:fy your idsfl�<ty. You may be
                                          i

    ask.ad sttvera! quastio!ls and tQ provi,d<;t.tirH:�: or mo:-e fo:ms �f                                             The s;,ecjf,ed cwMrshl;;, wiil remain th� ssme for clJ accounts.
    ider:tifica1iGn 1A tu!fil1 this reqcirement. !r. som$ :n.sWn.;e.s we may use
    cutside s�u,ces to C◊llfirm the i.nfo<rnati,;in. T�� ir,form.-iion y1Ju ;:,rovitle                                 [J Individual                          O Corporation • For Profh
    \s ;i,otected by ou: ;,rh1acy ;><Jlioy o:-id tederal low.                                                          i:.l Join, vmh Su;v!vorship            0 Corporation • No.�pro:fit
    Enter Non-Individual Owner l1tformatiQn oc, p��e 1, There is aclliitloM!                                                t/lQt as tenants ln oommQn)       D Pan:nership
                                                                                                                       0 Jcirrt w'ith No Su;vivcrship         D so:e F'r(lpcis1orship
    Owr,ar/SignQr Information space en page 2.

   I  W                 WAJV
      .,§W,¥(.h,(JN4#i�U.U,      !l!LZ.1J\ff.tWY
                                       :�: .
                          !vrC:<IE T LUC:'.(Y :� . �
                                                                             . •.,.G5i)JC!���
                                                   ,. ·N ..•� ·'· '·" ·• <,P>!!M
                                                                  ,... , , ....:;� ·�/.. �;:-;�.z�.:i.�·.. . ..,
                                                                                                                            (as ,e;iar,1s ir. common)         IBl . Limlt�d t.fahil!ly Company
   l M,1t\0nsrti�
   �-�----
                          !�<5N=R
   i  M�......             15'1 LUCKY :.ANli
                           �OSSJER, LA 71112                                                                           (Check apprr;,pri;;te owr,ersh/p 2trw�.,:
       t�9iii:,�
         .. Ac.i�f:lM                                                                                                  0    P,�•,ocabl� T,ust                            ·:J   Pay-On-Dea-th iPOD)
       atdr.lr-en'i�
                                                                                                                       D
   iW«-i<.R'.ol 'lt>
                                                                                                                       Benefi� fvame/s}; Address(es}, and SSN(si
   j'�ol)j:e ?tole




                                                                                  r.ovlsian.a,

     o�.11r:o
                                                                                                                   D H cb::ck�cl; t�•:s l:-: ri temporary account agreernP.n:4
   : :�iptir.r., 01;!;;K1;
   : �n:r,:o,y«r
   ;�-ioUf"..
       •
   : �;,..,..,.;�,:   !�
                                                                                                                   r.: '_ .
                                                                                                                   N:;mber o� mgnatures re�ufred fof withdrawal: 1
                                                                                                                              ·'t':_:·....
                                                                                                                                                            .�·
                                                                                                                   The ,mdc:s,�;,::J ,,�t'iorize the ilcrencial institution to investigate c1edi1
   i   �°'"'                          . WiLUAM A LUCKY                                                             a;id emptbym�nt his1or;· &r.d obrain r�ports irom con�umer reporting
                                                                                                                   agency(i'3SJ .on �hem :i.s r.1dMo"ua!s. Except as otherwise provided by law
   j f<il;,,lonsh!p                   I SlGNEl'l                                                                   or ottie, dccumants, 33Ch cf the un!lersil,ned is e,;tilorized t<> .make
                                                                                                                   wlthcraw;,:s item th� r.c.-:0ulft(s), provided the required ru1mber of
                                                                                                                   �iil""'"'°-·· ,,., !'··otrd c! .,,,� is s·a,istie<!. The ,.rnd!!nigned p1orsonally and
                                                                                                                   ?-S, or n" i,.-,:,.df c,,. ;:·•. ;;�count owner(s) agree. to !he terms of , and
                                                                                                                   m;k::owlcd;� r,,r.,::;), ,.i r.c::yiias) of, .his doc(lmem Encl t,'ie followir.g:
                                                                                                                   � Terms and Cond:�icr:S                        � Privacy
   i Home Phone                                                                                                    � Electronic Funti Tnmsfo•:--t:                IBJ
                                                                                                                                                                    Truth in Savings
   ! �'\.�Uk ��1•u�
                                                                                                                   IX! Sti!m1t�t� Checi<S                         1Bfonds Avaaability
                                                                                                                   � Common fear�res                              □----------
                                                                                                                   0 Acti1o r zed Sir,Mi {S.,e Owr.er!Signer lnformati
                                                                                                                   Signe: des�· ni;�icr:!s},}�
   ! SSN(:IN                                                                                                           r               -
       s,vAl 1$$:.1!-d ?h-:�e JO
       \iy�, Nu.�r, Spn�,
                                                                                                                   1lX                                                                                                   J
       l;\Se iJ.et::, !:x,p, C,r.�,
                                                                                                                   2f v;;:/��,                                    h.      -./
                                                                                                                              ·                                                                                          ]
                                                                                                                                _.,
                                                                                                                           '-
                                                                                                                    I. xt�
   ( Ozher:O                          i
   I ;o��lpti�n, DeWci                                                                                                                                            .,.?.../"
                                                                                                                           V·.'H.U ... '\!,�A L ,, , "..'               -(__-..
                                                                                                                                                                          _________
                                                                                                                                                  .

                                                                                                                                                                                                                         ]
   $�r.stUr># Ca.rd.VJ)'                                                                                                                                                                  MPl\tP-L.GZ.--�i,y :Ji2.l'i:.-0&7
   3ui<:r:� S�m� n,
   '.:\:'ol�o n.1v,.."':?r flr;e� .::· 1,;1 �i:,l.'ir;_. .t•:;;)0�. 200£                                                                                                                                    Pog•1 ot7.




                                                                                                                                        ··-·· ·----·--·· Prodace'db luc
                                                                                                                                                                   y   ky Family; LLC 285
                                                                                           EXHIBIT 5
                                                                           Opposition to W.A. Lucky III's Rule 56 Motion
